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                                                     UNITED STATES DISTRICT COURT
                                                     SOUTHERN DISTRICT OF FLORIDA

                                                     CASE NO.: 18-CV-24100-COOKE/
                                                                GOODMAN

  DIGNA VINAS,

         Plaintiff,

  vs.

  THE INDEPENDENT ORDER OF
  FORESTERS,

        Defendant.
  ______________________________/

           PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S
        MOTION TO OVERRULE PLAINTIFF’S SUBPOENA OBJECTIONS AND
             RESPONSES TO DEFENDANT’S WRITTEN DISCOVERY

         Plaintiff, Digna Vinas (“Vinas”), hereby files her Response to the Independent Order

  of Foresters’ (“Foresters”) Motion to Overrule Plaintiff’s Subpoena Objections and Responses

  to Defendant’s Written Discovery (D.E. 61) and states:

                                PRELIMINARY STATEMENT

         The present Motion which seeks only that Plaintiff’s Objections be overruled, is

  completely unnecessary. Specifically, as the Court reviews each of the Plaintiff’s actual

  responses to the discovery at issue (as opposed to Defendant’s inaccurate summary of those

  responses), the Court will find that while Plaintiff interposed objections for the reasons set

  forth therein1, immediately after the objection, Plaintiff provided substantive, definitive and

  binding responses to each of the interrogatories and requests for production at issue; a fact

  somehow omitted from Foresters’ Motion. (See highlighted portions of Exhibits A and B to


         1 Contrary to Defendant’s assertion of being “boilerplate objections”, each objection
  provided a detailed basis for the objection as well as a case and rule citation.
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  this Response, respectively). Indeed, though disfavored by some courts, after preserving

  objections, Plaintiff provided responses to the discovery for the express purpose of avoiding

  unnecessary motion (or hearing) practice to address the objections. This seemed reasonable

  where, as here, the Plaintiff either didn’t have requested documents or was willing to answer

  interrogatories after preserving valid objections. In fact, apart from RP 21 and 22 and Rog 13,

  Vinas provided a substantive response to every Interrogatory and R P. Nonetheless, Plaintiff

  provides the following individual responses to Defendant’s Motion to Overrule Objections.

                                 ARGUMENT AND MEMO OF LAW
                                         Subpoenas

         This Breach of Contract case was filed on Oct. 4, 2018 as the result of Foresters’ April

  5, 2017 denial of Vinas’ claim for life insurance benefits following the death of her husband,

  Rigoberto.[DE 1, Ex. C]. That denial was based solely on Foresters’ review of medical records

  from Mr. Vinas’ physician, Kenneth Hershman in which Foresters claimed Mr. Vinas lied on

  his application for insurance. The Court’s Order Setting Trial Date and Pretrial Deadlines set

  April 3, 2020 as fact discovery cutoff. [DE 21 at 2]. Defendant propounded no discovery for

  over 17 months. Then, on February 18, 2020, March 9, 2020, and March 16, 2020 (45, 35 and

  16 days respectively) before the discovery cutoff, Foresters threw out a proverbial discovery

  dragnet, including proposing subpoenas to six entities (Kendall Reg. Med Center, Humana

  Ins. Comp., S. Flor. Diag. Imaging, Quest Diagnostics, LabCorp, and U.S. Life Ins. Comp.).

  Incredibly, none of these entities had anything to do with the basis for the insurer’s denial, its

  affirmative defenses, or even its own Counterclaim. [Ex. C, DE 34 at 4, 5, 8-10].

         In an example of the epitome of insurance claim irony, Foresters claims it was justified

  in denying Plaintiff’s claim in April 2017 based solely on Dr. Hershman’s records, yet, now

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  tries to justify subpoenaing totally unrelated decades-old records from sources the carrier

  never even considered when it denied the claim and the breach of contract occurred. Such

  discovery goes well beyond relevant discovery related to “the present claims and defenses”.

         “The rule change signals to the court that it has the authority to confine discovery to

  the claims and defenses asserted in the pleadings, and signals to the parties that they have no

  entitlement to discovery to develop new claims or defenses that are not already identified in

  the pleadings.” See Adv. Comm. Notes to 2000 Amendments to Rule 26(b)(1). The

  amendment is intended to “encourage judges to be more aggressive in identifying and

  discouraging discovery overuse by emphasizing the need to analyze proportionality before

  ordering production of relevant information.” State Farm Mutual Auto. Ins. Co. v. Favda.

  2015 WL 7871037, at *2 (S.D.N.Y. 2015). Foresters’ last-minute subpoenas and service of

  interrogatories and RPs, that go well beyond the claims and defenses raised in the pleadings

  (as well as its own denial letter), is nothing more than a desperate attempt to find some

  justification for its denial. That is not what discovery is for!

                           Interrogatories and Requests for Production

         Regarding Vinas’ responses to Foresters’ RFP’s 4, 5, and 6 and Rogs 5, 6, and 15, the

  carrier’s argument is that Vinas cannot rely on documents Vinas had produced during the

  underlying claims [DE 61 at 3-4]. Plaintiff must respectfully ask if Foresters even read

  Plaintiff’s responses. In RFP’s 4, 5, and 6, after stating her objection, Vinas expressly

  responded, and stated: she was not in possession of any documents responsive to the request

  and added that if any such documents did exist, they would be contained within the

  documents listed in RFP 1. In turn, Vinas’ response to RFP 1 specifically lists documents that

  either Vinas or Foresters produced, not during the claims process, but during the litigation
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  itself!! [Ex. B at 1-2]. So, in addition to filing a motion to overrule an objection where an

  answer has been provided, Foresters is further wasting the Court’s time seeking to have Vinas

  re-produce to Foresters, documents Foresters itself had already produced to Vinas in this

  litigation. To make matters worse, undersigned expressly explained this to Foresters during

  the good faith attempt to resolve the issue when undersigned wrote: “ ... She [Ms. Vinas] has

  nothing else to provide and the response is therefore accurate. Obviously, we are not re­

  producing to you, documents that you provided to us.” (DE 61-5 at 4-5) (Emph. Supp.).

         Rogs 5 and 6 asked Vinas to list medications Mr. Vinas took and medical conditions

  he had. After objecting, Mrs. Vinas expressly answered the question and stated she was

  unaware of any medications her husband took for diabetes or any medical condition other

  than as explained in answer to Rog 1. In Rog 1, Vinas answered that an insurance examiner

  years before had incorrectly advised Mr. Vinas he had diabetes. Mr. Vinas checked with Dr.

  Hershman who expressly advised Mr. Vinas did not have diabetes. (Ex. A 3-4). As such, not

  only does Foresters’ Rog go far beyond the pleadings that claim a misrepresentation relating

  to diabetes, the Rog has also been expressly answered. There is simply nothing for the Court

  to order ... and no reason to overrule an objection to a question that has been answered.

         Rog 15 asks if Mr. Vinas ever applied for benefits under a disability policy. Vinas’

  response, “asked and answered” referred to her answer to Rog 14 which expressly stated; “my

  late husband had no disability insurance.” (Ex. A14-15). Obviously, if Mr. Vinas did not have

  disability insurance, he could not apply for benefits under a disability policy he didn’t have!

         RFP 10 asks for other life insurance applications made by Mr. Vinas. While Vinas

  objected for the reasons stated above, she again responded that she was not in possession of

  any such documents. (Ex. B at 6-7). Mrs. Vinas cannot produce documents she doesn’t have.
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         Defendant’s characterization of Vinas’ Response to Rogs 16 and 17 is completely false!

  In her answer to Rog 16, Mrs. Vinas expressly stated: “I spoke with Lisa Buckland who

  advised that our claim was being denied and that I would receive a letter explaining.” Vinas

  provided an even more detailed six sentence completely responsive answer to Rog 17. (Ex.

  A at 15-16). Both questions were answered in detail. Again, there is nothing for the Court to

  order ... and no reason to overrule an objection to questions that have been answered.

         Foresters wastes more time arguing the documents requested in RFP 17 and 18 are

  relevant [DE 61 at 5]. While Vinas disagrees for the reasons stated, Ms. Vinas stated she had

  no such documents. (Ex. B at 10-12). Foresters further argues that Rog 13, which asks if Vinas

  ever applied for benefits under any life policy, other than the Certificate, is relevant to Vinas’

  damages. [DE 61 at 5]. Vinas properly objected to Rog 13, as it is irrelevant to the claims and

  defenses that have been pled in this case. (Ex. A at 13-14).

         Finally, with regards to Rogs 20, 21, and 22, each interrogatory asks Plaintiff for the

  “factual basis” for various allegations in Plaintiff’s Complaint. Plaintiff responded by

  referring Foresters to the deposition o f its corporate representatives taken on March 4 and 5,

  2020 as well as the medical records of Dr. Hershman and the 20+ exhibits attached to the

  CR’s depositions. (Ex. A at 16-18). In those depositions, Plaintiff spent approximately 3%

  hours the first day establishing the facts that Mr. Vinas did not have diabetes and was therefore

  never told he did have diabetes or any secondary conditions. All the questions and answers,

  back and forth, over that approximately 3% hour time period including the attached

  documents, provided “the factual basis” for Plaintiff’s allegations. Similarly, on March 5th,

  another Foresters’ representative provided detailed factual testimony clearly establishing that,

  applying Foresters’ underwriting guidelines to Vinas’ medical history, Foresters would have
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  issued a standard life insurance policy and the claim should have been paid. Foresters’ counsel

  was sitting next to the witness during the two days of devastating testimony which

  unquestionably provided the factual basis Foresters inquired about in interrogatories 21-23.

         I HEREBY CERTIFY that on March 26, 2020, the foregoing document was served

  via the CM /ECF system to Kristina B. Pett, Esq., Danielle Shure, Esq., McDowell

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